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                                                                            Thursday, 28 December, 2017 01:36:39 PM
                                                                                         Clerk, U.S. District Court, ILCD



                                 UNITED STATES DISTRICT COURT
KENNETH A. WELLS                     CENTRAL DISTRICT OF ILLINOIS                                     TEL: 217.492.4020
  CLERK OF COURT                                                                                      FAX: 217.492.4028
                                             OFFICE OF THE CLERK



                                                     December 28, 2017



    Jacob H. Smith
    Kelly R. Choate
    Illinois Attorney General
    500 S. Second Street
    Springfield, IL 62706

    RE:       Michael Thomas v. Lt Law et al; 06-cv-3020

    Dear Attorneys:

            Defendants’ March 2008 jury trial exhibits admitted in the above case are currently in
    the possession of the Clerk's Office in Springfield, Illinois and need to be removed from our
    vault. It is your responsibility to retrieve these exhibits.

           Please make arrangements to retrieve the exhibits from the above-referenced case
    by January 19, 2018, or notify the Division Manager that they can be destroyed. Thank
    you for your prompt attention to this matter.

                                                     Sincerely,

                                                     KENNETH A. WELLS, CLERK
                                                     U.S. DISTRICT COURT

                                                     BY:   Michelle Eddings
                                                           Division Manager




          Peoria Division         Urbana Division           Springfield Division          Rock Island Division
          100 N.E. Monroe St.     201 S. Vine St.           600 E. Monroe St.             211 19th St.
          Room 309                Room 218                  Room 151                      Room 203
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